Case 1:05-cr-01849-JCH Document157 Filed 09/21/05 Page1of3

IN THE UNITED STATES DISTRICT COURPNiTep Fi Ler D

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FOR THE DISTRICT OF NEW MEXICO NEW MExigg
| SEP 9 |
UNITED STATES OF AMERICA, CR 05-1849-JH eT 2005
MAT
Plaintiff, THEW DYK
vs. CLERK MAN

JORGE LUIS ORTIZ-MOFFETT.
Defendant.
APPLICATION TO APPEAR AS COUNSEL PRO HAC VICE
Armand Salese applies to appear as counsel Pro Hac Vice, on behalf of the Defendant
JORGE LUIS ORTIZ-MOFFETT in this matter, and avows as follows:
1. Applicant’s office address is:

Armand Salese

Law Offices of Armand Salese, P.L.L.C.
145 S. 6" Ave

Tucson, AZ 85701

Telephone: (520) 903-0825

Fax: (520) 882-8016

as(@saleselaw.com

2. Applicant has been admitted to practice before the following courts on the
following admission dates:

1972 - All Arizona Courts
1972 - United States District Court - Arizona
1974 - Ninth Circuit Court of Appeals
1976 - United States Supreme Court
3, Applicant is a member in good standing in all of the courts to which he has
been admitted.

4, Applicant has never been suspended or disbarred by the State Bar of Arizona
Bar or any other jurisdiction.
Case 1:05-cr-01849-JCH Document157 Filed 09/21/05 Page 2 of 3

Applicant enjoys an AV rating from Martindale-Hubbell and has been
continuously listed in the “Best Lawyers in American” since 1989.

Applicant has represented the Defendant Jorge Luis Ortiz-Moffeit and family
members for over 10 years and presently represents the defendant in a civil
action pending in the United States District Court for the District of Arizona.

The name, address and tclephone number of the active member of the District
of New Mexico, who will] associate as local counsel of record in this matter is:

Tova Indritz, Attorney at Law
715 Tijeras Avenue, NW
Albuquerque, NM 87102
Telephone (505) 242-4003
Facsimile (505) 242-3125

Applicant has been retained to appear on behalf of the Defendant Jorge Luis
Ortiz-Moffett in this matter.

S

Applicant is not a resident of the State of New Mexico, is not regularly
engaged in substantial business, professional or other activities in the State of
New Mexico.

Respectfully submitted,

Jr ddd,

Tova Indritz, Attorney’al Law
715 Tijeras Avenue, NW
Albuquerque, NM 87102
Telephone (505) 242-4003
Facsimile (505) 242-3125

Case 1:05-cr-01849-JCH Document157 Filed 09/21/05 Page 3 of 3

STATE OF ARIZONA _)ss:
COUNTY OF PIMA }

ARMAND SALESE, being first duly sworn, deposes and says as follows:
Under penalty of perjury, that he is the applicant in the action herein; that he has read
the foregoing Application To Appear As Counsel Pro Hac Vice, and knows the contents
thereof; that the same Is truc of his own knowledge, except as to those matters therein stated
upon information and belief, and as to those matters, he believes them to be truc.

DATED this _~’O_ day of September, 2005.

EP

ARMAND <& ~

SUBSCRIBED AND SWORN TO before me this .70_ day of September, 2005 by

ARMAND SALESE.
\J iCal Moro
Not j
OFFICIAL SEAL
My Commission Expires: zl Ney a ADAMS
5 PIMA COUNTY
il} TR My Comm. Expires Nov. 14, 2008

Certificate of Scrvice

J hereby certify that 1 have mailed or faxed a copy of the foregoing pleading to
Assistant United States Attorney James Braun, P. O. Box 607, Albuquerque, NM 87103, this

UE day of September, 2005.
vor Andirte

Tova Indritz v

